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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION

 In re:                                        )
                                               )
 INFOW, LLC                                    )                 60020
                                                   Case No. 22 - _________
                                               )
            Debtor.                            )   Chapter 11 (Subchapter V)

                       VERIFICATION OF CREDITOR MATRIX


        The above-named Debtor hereby verifies that the attached list of creditors is true and
correct to the best of its knowledge.


     4/18/2022
Date:_______________________               Signature:_________________________________
                                                     Authorized Signer
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